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              Case 3:13-cr-04050-BTM                     Document 96               Filed 09/02/14               PageID.191                         hPage
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      ~AO 245B (CASD) (Rev. 4/14)    Judgment in a Criminal Case
                 Sheet 1
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                                                                                                                                        -~"'< ~,'A'~, ~j":'" p;r"11~·i, ,Q<:: f," ~5JI)~,'(,",~';,f'_-:,ll\
                                               UNITED STATES DISTRICT COURT
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                                                    SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November 1, 1987)

                      JOHN WILLIAM KIMBRIEL [1]                                      Case Number: I3CR4050-BTM
                                                                                     ROBERT GARCIA
                                                                                     Defendant's Attorney
     REGISTRATION NO. 40756298

     o
     THE DEFENDANT:
      181
        pleaded guilty to count(s) _1O_F_T_H_E_I_N_F_O_R_M_A_T_I_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     0 was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty,
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                                Count
     Title & Section                          Nature of Offense                                                                                                Number(s)
8 USC 1324(a)(1)(A)(ii)                TRANSPORTATION OF AN ILLEGAL ALIEN
and (v)(JI)




        The defendant is sentenced as provided in pages 2 through      4     of this judgment. The sentence is imposed pursuant
  o
 to the Sentencing Reform Act of 1984,
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 o    Count(s)                                                                        is   0    areO dismissed on the motion of the United States.
  181 Assessment: $100 to be paid during the first (1st) year of Supervised Release,

  181 'Fine waived                                  o      Forfeiture pursuant to order filed                                    , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special ass~ss!llents imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any::h1Jt~rial change in the defendant's economic circumstances.
                                                                         ":;\\" AUGUST 25, 2014
                                                                               Date of Imposition of Sentence




                                                                               H~~
                                                                               UNITED STATES DISTRICT JUDGE



                                                                                                                                                                   13CR4050-BTM
         Case 3:13-cr-04050-BTM                      Document 96           Filed 09/02/14           PageID.192            Page 2 of 4
AO 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                                       Judgment - Page      2      of        4
 DEFENDANT: JOHN WILLIAM KIMBRIEL [I)
 CASE NUMBER: 13CR40S0-BTM
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (57 DAYS).




     o
     o
         Sentence imposed pursuant to Title 8 USC Section 1326(b).
         The court makes the following recommendations to the Bureau of Prisons:
                                                                                                        ~~~
                                                                                                      BARRY TED OSKOWITZ
                                                                                                      UNITED STATES DISTRICT JUDGE




     o   The defendant is remanded to the custody ofthe United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Oa.m.       Op.m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    befure _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.



                                                                   RETURN
I have executed this judgment as follows:

         Defendant delivered on                                                        to

at                                                     with a certified copy of this judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                        By
                                                                             ------------~D~E~P~U~T~Y~U~N~IT~E~D~S~T~A~T~E~S~M~A~R~S~H~A~
                                                                                                                                        L------------




                                                                                                                                13CR40S0-BTM
           Case 3:13-cr-04050-BTM                     Document 96             Filed 09/02/14            PageID.193            Page 3 of 4
AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page        3     of        4
DEFENDANT: JOHN WILLIAM KIMBRIEL [IJ                                                                   o
CASE NUMBER: 13CR4050-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed 011 or afler September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the tcrm of supervision, unless otherwise ordered by court.                                          --

D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

~      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
~      Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements ofthe Sex Offender Registration and Notification Act (42 u.s.c. § 16901, et seq.) as directed
D      by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifYing offense. (Check if applicable.)
D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment; ,
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substanc~s are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shal1 permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                        13CR4050-BTM
             Case 3:13-cr-04050-BTM                     Document 96        Filed 09/02/14         PageID.194           Page 4 of 4
       AD 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                         Judgment-Page __4__ of _-,4!...._ _
        DEFENDANT: JOHN WILLIAM KIMBRIEL [I]                                                        o
        CASE NUMBER: 13CR4050-BTM




                                            SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tcsts per month and 1 to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer. The Comi authorizes the releas~ of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.

o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 90 days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
181 Resolve all outstanding warrants within 90 days.
o Complete             hours of community service in a program approved by the probation officer within
o
o   If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                   13CR4050-BTM
